 

Ne

13

14

15

46

17
18
19
20
21
22

23

 

Case 2:20-cv-00812-JCC Document 1-3 Filed 06/01/20 Page 1 of 9

IN THE SUPERIOR COURT OF WASHINGTON
IN AND FOR KING COUNTY

NICHOLAS BARNARD,
NO.
Plaintiff,
COMPLAINT FOR VIOLATIONS OF 15
vs. U.S.C. § 1692 ET SEQ. AND RCW
CHAPTERS 19.16 AND 19.86 ET SEQ.
COLUMBIA DEBT RECOVERY, LLC
dba GENESIS CREDIT
MANAGEMENT, LLC

Defendant.

 

 

 

 

COME NOW Plaintiff, Nicholas Barnard, by and through counsel. who alleges:
L PARTIES AND JURISDICTION

1. Plaintiff Nicholas Barnard is an individual who resides in Washington State.

2. Defendant COLUMBIA DEBT RECOVERY, LLC dba GENESIS CREDIT
MANAGEMENT, LLC (“CDR”), a Washington Limited Liability Company, UBI #604-074-
740, is a debt collector and collection agency doing business in Washington, and who repeatedly
attempted to collect an alleged debt from the Plaintiff. CDR’s registered agent is Rowland

Avenue Management, 906 SE Everett Mall Way Suite 301, Everett, WA 98208-3744.

: ANDERSON | SANTIAGO
Complaint - | 787 MAYNARD AVES
SEATTLE WA 98104

(206) 395-2665/ F (206) 395-2719

 

 
“yA Be =v

 

 

16

17

18

20

21

“22

23

 

 

Case 2:20-cv-00812-JCC Document 1-3 Filed 06/01/20 Page 2 of 9

3. Jurisdiction over Defendant is proper as Defendant is doing business in

Washington State and venue is appropriate in King County, Washington.
IL. FACTS

4, In March 2015, Plaintiff Nicholas Barnard rented an apartment from Clocktower
Apartment Homes (“Clocktower”) at 13725 32nd Ave. NE, Seattle, WA, 95125.

5. In 2017, Mr. Barnard signed a new fixed-term lease agreement, which terminated
at the end of March 2018.

6. In January 2018, Mr. Barnard was having financial difficulties, which made
continued payment of rent at Clocktower impracticable. Additionally, Clocktower management
had engaged in excessive entry into his apartment for several months, which made his living
situation extremely uncomfortable.

7. He did the most responsible thing that he could do in his situation and gave
Clocktower notice that his last day would be February 1, 2018. He provided notice by letter on
or about January 29, 2018. A true and correct copy of his notice is attached as Exhibit A.

8. Mr. Barnard knew that he might owe money for moving out early, but he had no
choice due to his uncertain financial status. To give Clocktower the opportunity to rent the unit
to others, Mr. Barnard moved out early.

9. He estimated that the fallout may consist of two months’ rent, and perhaps some
utility charges minus his deposit.

10. However, shortly after moving out, he received a huge shock when Clocktower
sent him a final account statement. A true and correct copy of the statement is attached as
Exhibit B.

11. The most glaring issue with the final account statement was that Clocktower was

. ANDERSON | SANTIAGO
Complaint - 2 787 MAYNARD AVES
SEATTLE WA 98104

(206) 395-2665/ F (206) 395-2719

 

 
 

 

hm

uo

wee Loge om
10
1]

12

14

15

16

17

18

wegen ge 49
ei 20
21

22

23

 

 

Case 2:20-cv-00812-JCC Document 1-3 Filed 06/01/20 Page 3 of 9

assessing a $1,385.00 “insufficient 20-day notice” fee, when Mr. Barnard had given Clocktower
over two months’ notice. The document itself accounted for this advanced notice.

12. Mr. Barnard also took issue with the $1,343.85 in cleaning fees, carpet
replacement, and damage repair as he had cleaned the apartment before he left. Additionally, he
had lived there for nearly three years, and nothing was damaged beyond normal wear and tear
upon moving out.

13. Just a few months after Mr. Barnard moved out of the apartment, he began
receiving communications from CDR. A true and correct copy of a letter he received from CDR
in 2018 is attached as Exhibit C. He was not in a financial position to resolve any outstanding
issues with the apartment or CDR, especially when the balance was inflated by over $2,700, so
he asked CDR to stop contacting him.

14. | CDR continued to send letters and e-mails. On or about March 4, 2020, Mr.
Barnard received an e-mail from CDR with an attached letter. A true and correct copy of the e-
mail and its attachment are attached as Exhibit D.

15. In March 4, 2020 letter, CDR stated that Mr. Barnard owed $5,636.85 in
principal, and $1,414.00 in interest, for a total due of $7,050.85.

16. Just twelve days later on March 16, 2020, CDR sent Mr. Barnard another
collection letter, and stated that Mr. Barnard owed $5,636.85 in principal, and $1,406.59 in
interest, for a total due of $7,043.44. A true and correct copy of the e-mail and its attachment are
attached as Exhibit E.

17. Mr. Barnard was extremely confused, as the amount of interest (having been
already calculated on dollar amounts which he did not owe) was decreasing, and he knew that

the balance was inflated by fees and costs that were obviously inaccurate. Logically speaking.

. ANDERSON | SANTIAGO
Complaint - 3 787 MAYNARD AVES
SEATTLE WA 98 104

(206) 395-2665/ F (206) 395-2719

 

 

 
 

bh

10

li

13

14

15

Spy ve

17

19

20

21

22

23

 

 

Case 2:20-cv-00812-JCC Document 1-3 Filed 06/01/20 Page 4 of 9

even assuming the principal amount was correct, at least one of the figures for interest is
necessarily false (if not both).

18. On March 26, 2020, Mr. Barnard called CDR to start a dialogue about the
confusing nature of CDR’s collections, and hopefully fix and resolve the issue. Unfortunately,
Mr. Barnard left the call more confused than when he began.

19. First, Mr. Barnard told CDR that he could not owe the $1,385 twenty-day notice
fee, because he gave over two months’ notice. CDR’s representative's response was to tell Mr.
Barnard that he should have just paid the remaining two months of rent when he left, because it
“would have been a lot cheaper.”

20. The attempted collection of a fee for supposed failure to give notice is obviously
uncollectable on its face, and CDR ignored Mr. Barnard’s simple explanation.

21. Second, Mr. Barnard asked CDR how he could be charged for cleaning fees,
when he had cleaned the apartment before he left.

22. Bizarrely, CDR falsely stated to Mr. Barnard that if he did not have the apartment
professionally cleaned, then he would have to pay Clocktower for such cleaning. No such
provision existed.

23. Finally, Mr. Barnard asked CDR about the fluctuating amount of interest.

24. | CDR’s representative offered to give Mr. Barnard a new number, which would
“probably be more accurate.” Despite only ten days passing since CDR’s last letter, CDR’s
representative stated that Mr. Barnard owed an additional $48.15 in interest, for a total of
$1,454.74. The representative offered absolutely no explanation for the fluctuating amount of
interest.

25. In fact, four days after Mr. Barnard’s call to CDR, on March 30, 2020, he

. ANDERSON | SANTIAGO
Complaint - 4 787 MAYNARD AVES
SEATTLE WA 98104

(206) 395-2665/ F (206) 395-2719

 

 

 
 

10

11

12

14

15

16

17

18

19

20

21

22

eh

#

23

 

 

Case 2:20-cv-00812-JCC Document 1-3 Filed 06/01/20 Page 5 of 9

received another e-mail from CDR, which again claimed that Mr. Barnard owed $1,046.59 in
interest. A true and correct copy of the e-mail is attached as Exhibit F.

26. Then, in almost comic fashion, on April 13, 2020, CDR sent yet another e-mail
with the same amount of interest ($1,046.59) allegedly owing. A true and correct copy of the e-
mail is attached as Exhibit G.

27. Asaresult of CDR’s actions detailed above, Plaintiff has incurred expenses in
seeking and retaining counsel in connection with ascertaining his legal rights and
responsibilities, on information and belief, has suffered damaged credit, and has suffered
financial uncertainty, unease, and distress caused by the false, improper, and confusing nature of
the collection efforts.

28. Additionally, Mr. Barnard is self-employed, and had to take time away from his
business to deal with CDR’s collection efforts.

Ill. CAUSES OF ACTION
GENERAL ALLEGATIONS APPLICABLE TO ALL COUNTS

29. With respect to the alleged debt, Plaintiff is a consumer as defined by 15 U.S.C. §
1692a(3) and Defendant is a debt collector as defined by 15 U.S.C. § 1692a(6).

30. With respect to the alleged debt, Plaintiff is a “debtor” as defined by RCW
19.16.100(7) and Defendant is a collection agency as defined by RCW 19.16.100(4).

31. For claims arising under the Fair Debt Collection Practices Act, such claims are
assessed using the “least sophisticated debtor” standard. Guerrero v. RJM Acquisitions LLC, 499
F.3d 926, 934 (9th Cir. 2007).

Count I (and all subcounts)

32. A debt collector may not use any false, deceptive, or misleading representation or

. ANDERSON | SANTIAGO
Complaint - 5 787 MAYNARD AVES
SEATTLE WA 98104

(206) 395-2665/ F (206) 395-2719

 

 

 
 

 

i)

Lo

 

15

16
17
18
19
20
21
22

23

 

 

Case 2:20-cv-00812-JCC Document 1-3 Filed 06/01/20 Page 6 of 9

means in connection with the collection of any debt. 15 U.S.C. § 1692e. This includes the false
representation of the character, amount, or legal status of a debt (§ 1692e(2)), the threat to take
any action which cannot be legally taken (§ 1692e(5)); or the use of any false representation or
deceptive means to collect or attempt to collect a debt (§ 1692e(10)).
33. Defendant used false, deceptive, or misleading representations or means in
connection with the collection of an alleged debt when it:
a) Sent numerous letters demanding amounts not owed (notice fees, cleaning
fees, and interest calculated on those fees);
b) Represented on a phone call that Mr. Barnard owed money which was not
owed:
c) Misrepresented the amount of interest owed in numerous letters;
d) Sent letters and/or e-mails to Plaintiff which were confusing, misleading, and
incorrect;
e) Falsely stated that Mr. Barnard would have to pay for cleaning because he
“did not hire a professional” to clean the apartment.
34. Therefore, Defendant violated 15 U.S.C. § 1692e, and/or its subsections, on
numerous occasions.
Count 2 (and all subcounts)
35. A debt collector may not use unfair or unconscionable means to collect or attempt
to collect any debt. 15 U.S.C. § 1692f.
36. Plaintiff realleges paragraph 33 supra, as constituting unfair and unconscionable
means to collect a debt.

37. In summary, the Defendant therefore violated 15 U.S.C. § 1692f and/or $

. ANDERSON | SANTIAGO
Complaint - 6 787 MAYNARD AVES
SEATTLE WA 98104

(206) 395-2665/ F (206) 395-2719

 

 
 

15
“16
17
18
19
20
21
22

23

 

 

 

Case 2:20-cv-00812-JCC Document 1-3 Filed 06/01/20 Page 7 of 9

1692f(1) on at least eight (8) occasions.
GENERAL ALLEGATIONS APPLICABLE TO ALL CPA CLAIMS

38. Violations of RCW 19.16.250 are per se violations of the Consumer Protection
Act (“CPA”), RCW chapter 19.86.' See RCW 19.16.440. RCW 19.86.090 provides for treble
damages (to a limit of $25,000) and attorney’s fees.

39. | Because RCW Chapter 19.16 is enforced through RCW 19.86 et seq., the below
counts alleging violations of RCW Chapter 19.16 are therefore CPA violations.

40. Even minimal or nominal damages constitute “injury” under the CPA. Panag,
166 Wn.2d at 57. A plaintiff need not prove any monetary damages at all, as even
“unquantifiable damages” suffice to establish “injury” for purposes of the CPA. Jd. (citing
Nordstrom, Inc. vy. Tampourlos, 107 Wn.2d 735, 740 (1987)).

Count 3

41. RCW 19.16.250(21) prohibits the collection, or attempted collection, of any
amounts in addition to the principal of a claim other than allowable interest, collection costs, or
handling fees expressly authorized by statute, and, in the case of suit, attorney’s fees and taxable
court costs.

42. Here, Defendant demanded money on numerous occasions for amounts that were
not owed through letters, e-mails. and phone calls. This included charges that could not be owed
under any circumstance, such as a twenty-day notice fee (when Plaintiff gave notice) and
cleaning and repair fees.

43. Each attempt to collect money from Plaintiff constitutes a separate attempt

 

' See Panag v. Farmers Ins. Co. of Wash., 166 Wn.2d 27, 53 (2009) (“Consumer debt collection is a highly
regulated field. When a violation of debt collection regulations occurs, it constitutes a per se violation of
the CPA...”).

: ANDERSON | SANTIAGO
Complaint - 7 787 MAYNARD AVE S
SEATTLE WA 98 104

(206) 395-2665/ F (206) 395-2719

 

 

 
 

 

 

10

1]

14

15

16

17

18

19

20

21

22

23

 

 

Case 2:20-cv-00812-JCC Document 1-3 Filed 06/01/20 Page 8 of 9

amounts obviously not owed.

44. Defendant therefore violated RCW 19.16.250(21) upon each debt collection
attempt.

Count 4

45. A ccollection agency shall not represent or imply that an existing obligation may be
increased by the addition of any charges when in fact such charges may not be legally added to the
obligation. RCW 19.16.250(15).

46. | Here, CDR calculated interest on a principal that was obviously inflated and
demanded that Plaintiff pay that interest on that inflated principal.

47. Additionally, CDR attempted to collect a confusing, fluctuating amount of interest.

48. Defendants therefore violated RCW 19.16.250(15) on numerous occasions.

Count 5 — Injunctive Relief

49. __ A plaintiff may seek injunctive relief for violations of the Consumer Protection
Act. RCW 19.86.090.

50. Plaintiff does seek injunctive relief from this Court which would enjoin
Defendants from collecting debts in the manner described above from Plaintiff and any other
person similarly situated. Scott v. Cingular Wireless, 160 Wn. 2d 843, 853 (2007).

51. Specifically, Plaintiff seeks an injunction prohibiting Defendant from its unlawful
collection tactics, including but not limited to demanding money that is not owed. and assessing
interest that is not owed.

52. Plaintiff has reason to believe these actions may constitute a pattern and practice
of behavior and have impacted other individuals similarly situated.

53. Injunctive relief is necessary to prevent further injury to Plaintiff and to the

. ANDERSON | SANTIAGO
Complaint - 8 787 MAYNARD AVES
SEATTLE WA 98104

(206) 395-2665/ F (206) 395-2719

 

 
 

Case 2:20-cv-00812-JCC Document 1-3 Filed 06/01/20

  
   

3.  Forstatutory damages of $2,000.00 per violation,

8 | Agsicy Act and Consumer Protection Act violations:

787 nual ‘Ave. s
Seattle, WA 98104
(206) 395-2668
(206) 395-2719 {fax}

 

Page 9 of 9

a

 

 

 

 

 
